 8:08-cr-00147-LSC-FG3         Doc # 60   Filed: 02/24/09     Page 1 of 2 - Page ID # 176




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )             CASE NO. 8:08CR147
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )             TENTATIVE FINDINGS
                                              )
MARILYN K. ADAMS,                             )
                                              )
              Defendant.                      )

       The Court has received the Revised Presentence Investigation Report (“PSR”) and

the Defendant’s objections thereto (Filing No. 56). The government adopted the PSR

(Filing No. 47).    See Order on Sentencing Schedule, ¶ 6. The Court advises the parties

that these Tentative Findings are issued with the understanding that, pursuant to United

States v. Booker, 543 U.S. 220 (2005), the sentencing guidelines are advisory.

       The Defendant objects to ¶¶ 50-61 (guideline application) and the underlying factual

assertions, and ¶ 103 (amount of restitution, which is higher than the amount in the plea

agreement). The burden is on the government with respect to the objections by a

preponderance of the evidence. If the parties require more than 30 minutes for the entire

sentencing hearing, they must immediately contact Edward Champion and reschedule the

hearing.

       IT IS ORDERED:

       1.     The Defendant’s Objections to the Presentence Investigation Report (Filing

No. 56) will be heard at sentencing;

       2.     Otherwise the Court’s tentative findings are that the Presentence Investigation

Report is correct in all respects;
 8:08-cr-00147-LSC-FG3        Doc # 60     Filed: 02/24/09    Page 2 of 2 - Page ID # 177




       3.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       4.     Absent submission of the information required by paragraph 3 of this Order,

my tentative findings may become final; and

       5.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 24th day of February, 2009.


                                          BY THE COURT:


                                          s/Laurie Smith Camp
                                          United States District Judge




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